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                       THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA


JEROME CORSI,

                      Plaintiff,

v.                                                  Civil Action No. 1:18-cv-02885 ESH

ROBERT MUELLER, et al.

                      Defendants.


          THE UNITED STATES’ MOTION TO DISMISS COUNTS III AND IV
              AND MEMORANDUM OF POINTS AND AUTHORITIES

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), the United States respectfully

moves to dismiss Counts III and IV. In support of this motion, the United States refers the Court

to the following memorandum.

       Dated: April 15, 2019                 Respectfully submitted,

                                             C. SALVATORE D’ALESSIO, JR.
                                             Acting Director
                                             Torts Branch, Civil Division

                                             /s/ Richard Montague
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                                          INTRODUCTION

       The “Westfall Act” makes the Federal Tort Claims Act (FTCA) the exclusive remedy for

any claim for negligent or wrongful acts or omissions by a federal employee acting in the scope

of office or employment. 28 U.S.C. § 2679(b)(1). It also provides that the Attorney General may

certify that an employee acted in the scope of office or employment and that when he does the

United States is automatically substituted as the defendant in the employee’s place. See 28

U.S.C. § 2679(d). Plaintiff Jerome Corsi’s claims for alleged “abuse of process” and “tortious

interference with business relationships” fall into the category of claims for which the FTCA is

the exclusive remedy and employee suits are barred. See Dkt. No. 15, First Amended Complaint

(FAC) at ¶¶ 54–65. The Attorney General’s designee has certified that Special Counsel Robert S.

Mueller, III, was acting within the scope of his office or employment at the time of the incidents

out of which these claims arose. See Robert S. Mueller, III’s Motion to Dismiss and

Memorandum of Points and Authorities, Ex. A. So they are properly deemed FTCA claims

against the United States. See 28 U.S.C. § 2679(d)(1).1 And because the FTCA’s limited waiver

of sovereign immunity does not apply, they fail for lack of subject-matter jurisdiction. See 28

U.S.C. § 2680(h).




       1
           Section 2679(d)(1) provides:

       Upon certification by the Attorney General that the defendant employee was
       acting within the scope of his office or employment at the time of the incident out
       of which the claim arose, any civil action or proceeding commenced upon such
       claim in a United States district court shall be deemed an action against the United
       States under the provisions of this title and all references thereto, and the United
       States shall be substituted as the party defendant.

The authority to certify scope of office or employment under the statute has been delegated to
United States Attorneys and to the Directors of the Civil Division’s Torts Branch. 28 U.S.C.
§ 15.4(a).
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                                          ARGUMENT

        The FTCA’s limited waiver of sovereign immunity excepts claims for “abuse of process”

and “tortious interference with business relationships,” as well as those brought by plaintiffs who

have not exhausted their administrative remedies. This makes Corsi’s Counts III and IV subject

to dismissal under Federal Rule of Civil Procedure 12(b)(1).

I. FTCA Jurisdictional Requirements Control.

        “Upon the Attorney General’s certification,” a “tort suit automatically converts to an

FTCA ‘action against the United States’ . . . . [T]he Government becomes the sole party

defendant; and the FTCA’s requirements, exceptions, and defenses apply to the suit.” Harbury v.

Hayden, 522 F.3d 413, 416 (D.C. Cir. 2008) (citing 28 U.S.C. § 2679(d)(1)). If the FTCA’s

limited waiver of sovereign immunity does not apply, the resulting FTCA claim fails under Rule

12(b)(1). See United States v. Mitchell, 463 U.S. 206, 212 (1983) (“It is axiomatic that the United

States may not be sued without its consent and that the existence of consent is a prerequisite for

jurisdiction.”).

II. The FTCA’s Waiver of Sovereign Immunity Excepts Claims for “Abuse of Process”
    and “Tortious Interference With Business Relationships.”

        The FTCA’s limited waiver of sovereign immunity specifically excludes “[a]ny claim

arising out of . . . abuse of process” by prosecutors and other non-law enforcement officers2 and

“interference with contract rights.” 28 U.S.C. § 2680(h). This plainly defeats Count III, explicitly

titled “abuse of process.” FAC at ¶¶ 54-58; cf. Hui v. Castaneda, 559 U.S. 799, 805 (2010)



        2
         See, e.g., Moore v. United States, 213 F.3d 705, 713 n.7 (D.C. Cir. 2000) (“[T]he
actions of a prosecutor cannot give rise to an abuse-of-process claim under the FTCA.”);
Bernard v. United States, 25 F.3d 98, 104 (2d Cir. 1994) (“The FTCA authorizes suits for abuse
of process based only on the actions of federal investigative or law enforcement officers, not on
the actions of government prosecutors.”).

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(construction of exclusivity-of-remedy provision “begins and ends with the text”). Count IV,

even though styled as “tortious interference with business relationships,” FAC at ¶¶ 59–65, also

fails because it “seeks to recover for the breach of duties identical to those underlying”

interference with contract rights. Art Metal-U.S.A., Inc. v. United States, 753 F.2d 1151, 1154

(D.C. Cir. 1985); see also id. (equating “the duty not to interfere with Art Metal’s economic

relationship with third parties” with “the duty underlying a claim for interference with contract

rights”); Martinek v. United States, 254 F. Supp. 2d 777, 790 (S.D. Ohio 2003) (collecting cases

establishing that “[i]nterference with business relationships falls within this exclusion”).

III. Corsi Failed to Exhaust His Administrative Remedies.

       Additionally, the FTCA “bars claimants from bringing suit in federal court until they

have exhausted their administrative remedies.” McNeil v. United States, 508 U.S. 106, 113

(1993) (citing 28 U.S.C. § 2675(a)). Any “failure to exhaust administrative remedies” is a

“jurisdictional” flaw. Ali v. Rumsfeld, 649 F.3d 762, 775 (D.C. Cir. 2011) (internal citations

omitted). Corsi, who is obliged to plead the jurisdictional grounds for his suit, see Fed. R. Civ. P.

8(a)(1), makes no allegation that he “filed an administrative claim,” so any FTCA claim is

subject to dismissal “for lack of subject matter jurisdiction.” Ali, 649 F.3d at 775; see also

Wasserman v. Rodacker, 557 F.3d 635, 640 (D.C. Cir. 2009) (United States properly substituted

and claims properly dismissed because plaintiff “failed to exhaust his administrative remedies.”).

IV. Conclusion

       For the foregoing reasons, the United States respectfully moves for dismissal of Counts

III and IV under Rule 12(b)(1) for lack of subject-matter jurisdiction.

       Dated: April 15, 2019                   Respectfully submitted,

                                               C. SALVATORE D’ALESSIO, JR.
                                               Acting Director
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 15, 2019, I will electronically file the foregoing with
the Clerk of Court using the CM/ECF system, which will send a notification of electronic filing to
the parties.

                                             /s/ Laura Katherine Smith
                                             LAURA KATHERINE SMITH




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                    THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA


JEROME CORSI,

                    Plaintiff,

v.                                             Civil Action No. 1:18-cv-02885 ESH

ROBERT MUELLER, et al.

                    Defendants.

                       ORDER ON THE UNITED STATES’
                     MOTION TO DISMISS COUNTS III AND IV

       UPON CONSIDERATION of the United States’ motion to dismiss Counts III and IV,
and the grounds stated therefor, it is on this ___ day of ________, 2019, hereby

      ORDERED that said motion is granted.

                                        _____________________________________
                                        Senior U.S. District Judge Ellen S. Huvelle
